                      Case 1:23-cr-00071-RDM Document 1 Filed 11/30/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )       Case No.
                   Bryan Shawn Smith
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                    January 6, 2021               in the county of                                         in the
    Jurisdiciton      LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:


             Code Section                                                   Offense Description
        18 U.S.C. § 231(a)(3) - (Civil Disorder)
        18 U.S.C. § 1752(a)(1) and (b)(1)(A) - (Entering and Remaining in a Restricted Building or Grounds with a Deadly or
        Dangerous Weapon)
        18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)-Disorderly and Disruptive Conduct in a Restricted Building or Grounds)
        18 U.S.C. §§ 1752(a)(4) and (b)(1)(A)-(Engaging in Physical Violence in a Restricted Building or Grounds)
        40 U.S.C. § 5104(e)(2)(D) - (Disorderly Conduct in a Capitol Building)
        40 U.S.C. § 5104(e)(2)(G) - (Parading, Demonstrating, or Picketing in a Capitol Building)




      This criminal complaint is based on these facts:
6HHDWWDFKHGVWDWHPHQWRIIDFWV
                                                                                                Issuing Officer’s signature

        9
        u Continued on the attached sheet.
                                                                                                Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                                Digitally signed by Zia M.
                                                                                                             Faruqui
                                                                                                             Date: 2022.11.30 16:42:13
Date:                                                                                                        -05'00'
                  11/22/2022       11/30/2022
                                                                                                   Judge’s signature

City and state:                         :DVKLQJWRQ'&                                Honorable Zia M. Faruqui
                                                                                         UNITED STATES MAGISTRATE JUDGE
